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                        m THE UNITED STATES DISTW CT COURT
                         FOR THE SOU TH D ISTRICT O F FLO RIDA
                             W EST PALM BEA CH DW ISION
                                   cAssxo:11-8          2-cv - &wM
                                                 'RX AJ.
  AM ERICAN SOU THERN
  m SU RANCE COM PAN Y ,                                      FlLED th
                                                                     y          D,C.

         Plaintiff,
                                                                 sEF212011 l
  VS.
                                                                 -s
                                                                  JJ
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                                                                   )J
                                                                    ,oF
                                                                   o.)')/,
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                                                                                 Ra.
                                                                                    p j
                                                                                    . '
  JARDAY TM N SPORTA TION O F
  SOU TH FLOU A CORP.
  JESSE RUBIN and BON NIE RUBW ,

         Defendants.
                                                    /

               RESPONSE TO COM PLAINT FOR DECLAM TORY JUDGM ENT


         COM ES NO W ,JESSE RUBIN,appearingpro seand statesasfollows:

                                A S TO UN DERLY G G CLAIM


                 On June 18s2011,ldroveaJarday Transportation ofSouthFloridaCorpvehicle

   to Cam pagnolo Restaurantlocated at8288 G ladesRoad,BocaR aton,Florida to m eetm y parents

   forFather'sDay on mywaytogoing on abusinesscallfortransportation pick up.

          2.     Idid notgo theretom eetmywife,BonnieRubin.

                 1furtherstatethatatthattime1hadno knowledgethatshewasattheRestalzrant.

          4.     M onthspriorto thisparticulardate Bonnie Rubin had already tiled a Petition for

   Dissolution ofM aniagePalm B each County CircuitCaseN o.502011D R0043I4XX XX SB .

                 Atthispointin tim e w ew ere living separately asw ellashad m inim altelephone
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  contactwith each other,ifany.

        6.       W hileIwasoutin theparking 1otan argum entensued betweenm yselfand Bormie

  Rubin.
                 W hile operating the vehicle to leave the restattrantlocation Bormie Rubin made

  contactwith thevehicle.

           8.    1didnotintentionallymeantotouchorstrikeorcauseanybodilyinjuryorhan'n
  to Bonnie Rubin orany otherperson.

                 TothebestofmyknowledgeBormieRubinhadsustained injuriesfrom the
  contactw ith the vehicle.
           10.   1wasarrested thatevening fordomesticbatteryunderFloridaStatute 784.03and

  since then the charges have been dropped and Stnolle prossed''on July 29,201l by the State

  Attorney'soffice. A copy isattached asExhibitIW ''



                  AS TO EXPECTED AND INTXNDED INJURY EXCLUSION

           11.   Ihavenotbeen convicted ofintentionally touchingorstriking anotherptrson

   and/orintentionallycausingbodilyha= to anotherperson.lwasm estedthateveningfordom estic

   batteryunderFloddaStatm e784.
                               03andthechargeshavebeendroppedandççnolleprossed''onJuly

   29,2011by theStateAttorney'som ce.


           W HEREFO RE,Defendant,JESSE RUBW ,rtspectfully requeststhisHonorableCourtto

           a.     DeclarethatBonnieRubin isentitledto any PIP benefitsundercommercial

   autom obile liability policy BA 723990.
           b.     Thatthe CourtdeclarethatASIC isobligatedtopay anysum sonbehalfofJarday
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             *




  orJesseRubinforanyinjudesordamagessustainedbyBonnieRubinadsingoutoftheJune 18,

  2011incident;
                  ThattheCourtnotholdJesseRubin liableforcostsassociated to thisincident

  since itw as an unfortunate unintentionalaccidentthatoccurred on thatdate.

                  ThattheCourtaward fuch furtherreliefasm aybedeemed appropriate.

         Underpenaltiesofperjury,1declarethatlhaveread theforegoing,and thefacts
   alleged aretrue,to thebestofm yknowledgeand belief.



   Signed        9 >*             ,2011.




                                                  SE RU BIN,pro se
                                               2 041Floralw ood Lane
                                                oca Raton,FL 33433
                                               (561)358-9907

                                        C ERTIFICA TIO N

   1certify thata copy hasbeen m ailed to Dale Hightow er,Esq.,H ightow er& Partners

    330 C1 atis Street, Suite 201, W est Palm Beach, FL 33401 by                       M ail on

        9 Qo                           2011.


                                                  SE RU BIN,pro se
